                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,
                Plaintiff,

       v.                                           Case No. 16-cr-21

SAMY HAMZEH,
                      Defendant.


                            MOTION TO DISMISS
                  COUNTS TWO AND THREE OF THE INDICTMENT


   The plaintiff, United States of America, by its attorneys Richard G. Frohling, United States

Attorney for the Eastern District of Wisconsin, and Benjamin Taibleson, Assistant United States

Attorney for said district, hereby moves to dismiss counts two and three of the February 9, 2016

indictment in the above-captioned case, pursuant to (1) the parties’ November 18, 2021 plea

agreement and (2) the sentencing hearing conducted by this Court on May 25, 2022.

       Respectfully submitted this 1st day of June, 2022.

                                             Respectfully submitted,

                                             RICHARD G. FROHLING
                                             United States Attorney

                                     By:     /s/ Benjamin Taibleson
                                             BENJAMIN TAIBLESON
                                             Assistant United States Attorney
                                             Office of the United States Attorney
                                             Eastern District of Wisconsin
                                             517 E. Wisconsin Avenue, Room 530
                                             Milwaukee, Wisconsin 53202
                                             (414) 297-1700
                                             benjamin.taibleson@usdoj.gov




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